          Case 1:19-cr-00143-ADA-BAM Document 151 Filed 02/25/20 Page 1 of 1


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 5
                        UNITED STATES DISTRICT COURT
 6
                                EASTERN DISTRICT OF CALIFORNIA
 7

 8   UNITED STATES OF AMERICA,                         Case No. 1:19-cr-00143-DAD-BAM

 9                 Plaintiff,                          ORDER DENYING DEFENDANT’S
                                                       MOTION FOR BAIL REVIEW
10          v.
                                                       (ECF No. 148)
11   MANUEL BARRERA,

12                 Defendant.

13

14          On February 14, 2020, Defendant Manuel Barrera filed a motion for bail review to be

15 placed on pretrial release. (ECF No. 148.) On February 24, 2020, a hearing on Defendant’s

16 motion was held before the undersigned. (ECF No. 149.) Defendant appeared in custody with

17 counsel Anthony Capozzi. (Id.) Counsel Kimberly Sanchez appeared for the Government. (Id.)

18 Having considered the moving papers and the arguments presented at the February 24, 2020

19 hearing, the Court shall deny Defendant’s motion for bail review.
20          For the reasons stated on the record, Defendant has presented insufficient bond, and

21 Defendant’s new information does not overcome his burden of showing that he is neither a flight

22 risk or a danger to the community. Therefore, Defendant’s motion for bail review and release on

23 conditions is DENIED. The Defendant remains detained as a flight risk and danger.

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     IT IS SO ORDERED.
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26 Dated:     February 24, 2020
                                                       UNITED STATES MAGISTRATE JUDGE
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